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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C) and the Modified Protective Order (Dkt. No. 203),

  Plaintiffs respectfully move this Court to seal portions of Exhibits N and O to Plaintiffs’

  Memorandum of Law in Opposition to Defendant’s Motion in Limine. The withheld information

  is derived from exhibits and deposition designations that were requested to be sealed in the 33

  non-parties’ Disclosure Objections. (See Dkt. No. 1147, at 2 n.1). The Court granted the sealing

  and redactions requests of the 33 non-parties. (Dkt. No. 1147.) Plaintiffs hereby certify that they

  request sealing of the above-described materials pursuant to the Court’s August 9, 2024 Order

  (Dkt. No. 1147), and that, prior to entry of that Order, the Plaintiffs met-and-conferred with

  counsel for Microsoft and Equativ regarding the material designated for sealing.

         Consistent with the local rule and this Court’s Electronic Case Filing Policies and

  Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

  CM/ECF and hereby certify that they will serve a copy on opposing counsel and deliver a copy

  to this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  contained in the memorandum of law concurrently filed in support of this motion. A proposed

  order is attached for the Court’s convenience.




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  Dated: August 23, 2024

  Respectfully submitted,

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